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 AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                  SouthernDistrict
                                              __________   Districtofof__________
                                                                        Texas

                   United States of America                       )
                              v.                                  )
             Raquel Eunice VASQUEZ-Castillo                       )      Case No.
                                                                  )                 L-18-PO61802
                                US                                )
                                                                  )
                                                                  )
                           Defendant(s)


                                              CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                                              in the county of                    Starr             in the
       Southern         District of           Texas          , the defendant(s) violated:

             Code Section                                                   Offense Description
8 USC 1325(a)(1)                           an alien, did unlawfully enter and attempt to enter the United States at a place other than
                                           designated by an immigration officer.




          This criminal complaint is based on these facts:
Furthermore, it is based on verbal statements by, Raquel Eunice VASQUEZ-Castillo, who admitted being a citizen of Honduras, who
entered or attempted to enter illegally into the United States by wading the Rio Grande River near, #PLACE OF ENTRY#, thus
avoiding immigration inspection, nor having proper documents to enter, travel through, or remain in the United States. This illegal
entry or attempted entry took place on #DATE OF ENTRY#.




              Continued on the attached sheet.
                                                                                                       /S/
                                                                                             Complainant’s signature

                                                                         Ronald A. Dejean Iii             , Border Patrol Agent
                                                                                              Printed name and title

 Sworn
 Affiant to before
         Ronald A. me and signed in my presence.
                   DeJean
 sworn and attested
 on June 20, 2018, at 5:00 AM,
 Date:   June 20, 2018
 at Laredo, Texas.
                                                                                                Judge’s signature

 City and state:      Laredo, Texas                                      Diana Song Quiroga               , U.S. Magistrate Judge
                                                                                              Printed name and title
